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IN THE UNITED STATES DISTRICT COURT " ' l
FOR THE WESTERN DISTRICT OF TENN'ESSEE 05 AU]:; 29 PH 1652
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA,
Plaintiff,
vs.

NO. 05-20122DV

BRENDA COLBERT ,

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Defendant.

 

ORDER DEN'YING GO'V'ERNMENT’ S MOTION TO RE'VOKE BON'D

 

On July 21, 2005. defendant Brenda Colbert appeared before
U.S. Magistrate Judge S. Thomas Anderson for an initial appearance
on a charge of violation of the terms and conditions of her
pretrial release. The government requested her bond be revoked.
The defendant was advised of her right to have a bond revocation
hearing.

A bond revocation hearing was held On duly 25, 2005, and
completed on Angust 29, 2005. For the reasons stated at the
hearing, the petition to revoke bond is denied.

IT IS SO ORDERED August 29, 2005.

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DIANE K. VEBCOVO
UNIT STATES MAGISTRATE JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

